     Case 4:22-cv-00227-JM   Document 2    Filed 03/10/22    Page 1 of 14



               IN THE UNITED STATES DISTRICT COURT                       FILED
              FOR THE EASTERN DISTRICT OF ARKANSAS               EAsr'rRtPJflf;L0Jr��\sAs
                       LITTLE ROCK DIVISION
                                                                       MAR 1 O 2022
RODNEY A. HURDSMAN; and all       §                             T�A   H M
                                                                        �' CLERK
others similarly situated,        §                           By: .. - ·�
                                                                                      DEPCLERK
                                  §
                  Plaintiffs,     §
                                  §
v.                                §        CASE NO. 4:22-cv-227-JM-JJV
                                  §
VIAPATH TECHNOLOGIES INC.         §        CLASS ACTION LAWSUIT
(formerly known as GLOBEL         §        JURY TRIAL DEMANDED
TEL*LINK); RODNEY WRIGHT,         §
SALINE COUNTY SHERIFF; and        §
COUNTY OF SALINE ARKANSAS,        §
                                  §
                  Defendants.     §

                      CIVIL RIGHT� COMPLAINT

1.       This is a Civil Rights action brought pursuant to 28 U.S.C.
§ 1983 seeking redress from the Defendants' violation of the named
Plaintiffs' Civil Rights.

2.       This action is further brought pusuant to Monell v. New
York Department of Social Services, 436 U.S. 685 (1978), for the
Constitutional injury caused by a widespread well settled practice
or custom of unlawfully recording attorney-client privileged
telephone conversations and providing them to state and federal
law enforcement and prosecutors without a valid warrant or court
order.

3.       This action is also brought pursuant to any applicable
Arkansas State invasion of privacy laws; business-and professions
laws for the Defendants' unlawful concealment, fraud, negligence
and unjust enrichment as an inmate telephone service provider.

                                                                             Moody
                                      This case assigned to District Judge_______________
                                                                  Volpe
                                      and to Magistrate Judge ________________________
Case 4:22-cv-00227-JM   Document 2   Filed 03/10/22   Page 2 of 14
Case 4:22-cv-00227-JM   Document 2   Filed 03/10/22   Page 3 of 14
Case 4:22-cv-00227-JM   Document 2   Filed 03/10/22   Page 4 of 14
Case 4:22-cv-00227-JM   Document 2   Filed 03/10/22   Page 5 of 14
Case 4:22-cv-00227-JM   Document 2   Filed 03/10/22   Page 6 of 14
Case 4:22-cv-00227-JM   Document 2   Filed 03/10/22   Page 7 of 14
Case 4:22-cv-00227-JM   Document 2   Filed 03/10/22   Page 8 of 14
Case 4:22-cv-00227-JM   Document 2   Filed 03/10/22   Page 9 of 14
Case 4:22-cv-00227-JM   Document 2   Filed 03/10/22   Page 10 of 14
Case 4:22-cv-00227-JM   Document 2   Filed 03/10/22   Page 11 of 14
Case 4:22-cv-00227-JM   Document 2   Filed 03/10/22   Page 12 of 14
Case 4:22-cv-00227-JM   Document 2   Filed 03/10/22   Page 13 of 14
Case 4:22-cv-00227-JM   Document 2   Filed 03/10/22   Page 14 of 14
